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 1   GUCOVSCHI ROZENSHTEYN, PLLC.
 2   Adrian Gucovschi (State Bar No. 360988)
     Nathaneil Haim Sair (pro hac vice forthcoming)
 3   140 Broadway, Fl. 46
     New York, NY 10005
 4   Telephone: (212) 884-4230
     Facsimile: (212) 884-4230
 5
     E-Mail: adrian@gr-firm.com
 6           nsari@gr-firm.com

 7   Attorneys for Plaintiff and the Putative Class

 8
                                  UNITED STATES DISTRICT COURT
 9

10                             NORTHERN DISTRICT OF CALIFORNIA

11
     JANE JUE, individually and on behalf of all         Case No.
12   others similarly situated,
13
                                   Plaintiff,            CLASS ACTION COMPLAINT
14
                    v.                                   JURY TRIAL DEMANDED
15
     IQBAR, Inc.,
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17                                 Defendant.

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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED
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 1          Plaintiff Jane Jue (<Plaintiff=) brings this action on behalf of herself and all others similarly
 2   situated against Defendant IQAR Inc. (<Defendant=). Plaintiff makes the following allegations
 3   pursuant to the investigation of her counsel and based upon information and belief, except as to the
 4   allegations specifically pertaining to herself, which are based on her personal knowledge.
 5                                            INTRODUCTION
 6          1.      Defendant formulates, manufactures, advertises, and sells the popular <IQBar=
 7   protein bars (the <Products=)1 throughout the United States, including in California. Defendant
 8   markets its Products in a systematically misleading manner by misrepresenting the quantity and
 9   quality of the protein contained therein. Specifically, Defendant’s Products are comprised of
10   inferior protein sources that do not provide the same nutritional benefits as whey protein.
11          2.      Defendant’s sales are driven by consumers seeking protein supplementation. To
12   market to these consumers, Defendant prominently displays the total protein content of its Products
13   on the front of each label. However, Defendant fails to include the percent of daily value (<%DV=)
14   for protein in the Nutrition Facts Panel (<NFP=) which would show the adjusted amount after
15   accounting for protein’s plant-based origin.
16          3.      In other words, Defendant shows the total protein amount on the front of its product,
17   but does not show the daily value for that amount in the back. This is misleading because plant-
18   based proteins often are less digestible, meaning the human body does not absorb the full amount
19   of protein. So 10g of plant-based protein oftentimes has a lower daily value percentage than 10g of
20   meat-based protein. And by not disclosing the daily value to consumers, Defendants misleads
21   consumers into believing they are getting more protein than they actually are.
22          4.      Accordingly, Plaintiff and those similarly situated suffered an injury in fact as a result
23   of Defendant’s misleading and deceptive practices set forth herein.
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26    The Products are comprised of the following flavors: chocolate mint, chocolate sea salt, almond
     butter chip, peanut butter chip, toasted coconut chip, banana nut, lemon blueberry, wild blueberry
27   and matcha chai. An illustration of the Products can be found on Defendant’s website:
     https://www.eatiqbar.com/collections/iqbar? (last accessed May 27, 2025).
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 1                                      JURISDICTION AND VENUE
 2           5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)
 3   because this case is a class action where the aggregate claims of all members of the proposed class
 4   are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiff, as well as most
 5   members of the proposed class, are citizens of states different from Defendant. This Court also has
 6   supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.
 7           6.      Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
 8   Plaintiff is a citizen of California who resides in this District, and because Plaintiff purchased the
 9   Product in this District. Moreover, Defendant purposefully availed itself of this District through its
10   distribution, advertisement, and sale of the Products, which are the subject of the present
11   complaint, in this District.
12                                              THE PARTIES
13           7.      Plaintiff Jane Jue is a citizen of California who resides in Union City, California.
14   Plaintiff Jane Jue purchased the Products for her personal use during the applicable statute of
15   limitations while residing in Union City, California. Plaintiff’s most recent purchase was
16   Defendant’s chocolate mint Product, which she purchased on Defendant’s Amazon.com listing for
17   approximately $29.99 on or about January 2025.2 Prior to purchasing the Product, Plaintiff saw and
18   read the Product’s packaging, which stated that it provides <12g[rams=] Plant Protein.= Plaintiff
19   relied on this representation by believing that the Product would provide the specific amount of
20   protein claimed therein in a form that human bodies could utilize. Plaintiff relied on the Product to
21   meet her protein dietary needs. Had Defendant complied with the law and not made the protein
22   claims on the front of the Products’ packaging, she would not have been drawn to the Products and
23   would not have purchased them. At a minimum, Plaintiff would have paid less for each Product.
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25   2
      Amazon.com: IQBAR Brain and Body Plant Protein Bars - Chocolate Mint Chip - 12-Count Low
26   Carb - Gluten Free, High Fiber, Vegan Snacks - Low Sugar Meal Replacement : Grocery &
     Gourmet Food the listing can also be found through the following link:
27   https://www.amazon.com/IQBAR-Brain-Body-Keto-Protein/dp/B0CRJYLRH3?th=1 (last accessed
     May 27, 2025).
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 1          8.      In addition, Plaintiff Jue regularly checks the NFP before purchasing any protein
 2   supplement, including the %DV column for protein when manufacturers provide it, and she uses
 3   that information as a basis of comparison between similar products. Manufacturers do not always
 4   disclose a %DV for protein, but when they do, she selects the product that provides more of the
 5   recommended daily amount of protein (i.e., the one with a higher %DV). When purchasing
 6   Defendant’s Product on or about January 2025, Plaintiff Jue looked at and read the NFP which
 7   stated that the 12 grams of protein had a 24% daily value. In so doing, Plaintiff relied on the
 8   representation that the stated grams of protein and daily value were accurate and reflected the
 9   amount of protein that could be used by her body. Had Defendant adequately disclosed the
10   corrected amount of protein per serving for each Product expressed as a %DV, as FDA regulations
11   require, Plaintiff Jue would not have purchased the Products or would have, at minimum, paid less
12   for them.
13          9.      Defendant IQBAR Inc. (<Defendant=) is a Delaware corporation with its principal
14   place of business located at Brookline, Massachusetts. At all times relevant to this Complaint,
15   Defendant has advertised, marketed, distributed, or sold the Product to consumers throughout the
16   United States and the State of California. Defendant has sold the Products directly to consumers via
17   the internet and through third-party retail stores throughout the United States, including this
18   District. Defendant created and/or authorized the false, misleading, and deceptive advertisements,
19   packaging, and labeling for the Products.
20                                      FACTUAL ALLEGATIONS
21
     Overview of FDA regulations regarding protein claims
22
           10.      It is axiomatic that the amount of reported protein contained within Defendant’s
23
     Products is material to any consumer seeking to purchase a protein supplement. To capitalize on this
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     trend, Defendant prominently claims on the front label of the Products that they contain <12G Plant
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     Protein.= Consumers, in turn, reasonably expect that the Products will actually provide the amount
26
     of protein claimed on the front of the Product’s package in a form the body can use.
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           11.      The Food and Drug Administration (<FDA=) prohibits such front label protein
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 1   claims unless manufacturers also provide additional information in the nutrition fact panel about
 2   how much of the recommended daily value for protein the product will actually provide. 21 C.F.R.
 3   §§ 101.9(c)(7)(i), 101.13(b), (n). That is because the FDA recognizes that (1) when manufacturers
 4   tout an amount of protein on the front label, that amount is likely to be material to purchasing
 5   decisions, even though reasonable consumers may not know the total amount of protein they need
 6   to ingest on a daily basis, and (2) not all proteins are the same in their ability to meet human
 7   nutritional requirements, so a simple statement about the number of grams does not actually inform
 8   consumers about how much usable protein they are receiving. Some proteins are deficient in one or
 9   more of the nine amino acids essential to human protein synthesis and/or are not fully digestible
10   within the human gut. When the human body uses up the least prevalent essential amino acid from
11   a food product, protein synthesis shuts down and all of the remaining amino acids from that protein
12   source degrade mostly into waste. Likewise, whatever portion of a protein source is not digestible
13   is similarly unavailable for protein synthesis. A protein’s ability to support human nutritional
14   requirements is known as its <quality.=
15         12.      The FDA required method for measuring protein quality is called the <Protein
16   Digestibility Corrected Amino Acid Score=4known by its acronym PDCAAS (pronounced
17   PeeDee-Kass). It combines a protein source’s amino acid profile and it’s percent digestibility into a
18   discount factor ranging from 0.0 to 1.0 that, when multiplied by the total protein quantity, shows
19   how much protein in a product is available to support human nutritional requirements. The
20   regulations term this the <corrected amount of protein per serving.= 21 C.F.R. § 101.9(c)(7)(ii). For
21   example, a PDCAAS of .5 means that only half of the protein in that product is available to support
22   human protein needs. Thus, if a product contains 10 grams total protein per serving with a
23   PDCAAS of .5, the corrected amount of protein would be only 5 grams per serving. As a result,
24   protein supplements can vary widely in their ability to support human protein needs4even
25   between two comparator products with the same total protein quantity.
26         13.      Because consumers are generally unaware of the usability of various proteins and
27   may even be unaware of the total amount of usable protein they should ingest each day, the FDA
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 1   prohibits manufacturers from advertising or promoting their products with a protein claim unless
 2   they have satisfied two requirements. First, the manufacturer must calculate the <corrected amount
 3   of protein per serving= based on the quality of the product’s protein using the PDCAAS method.
 4   Second, the manufacturer must use the PDCAAS computation to provide <a statement of the
 5   corrected amount of protein per serving= in the NFP <expressed as= a percent daily value (<%DV=)
 6   and placed immediately adjacent to the statement of protein quantity. 21 C.F.R. § 101.9(c)(7)(i)-
 7   (iii). The %DV is the corrected amount of protein per serving divided by the daily reference value
 8   for protein of 50 grams. Id. Using the same example of a product containing 10 grams total protein
 9   per serving with a PDCAAS of .5, the %DV is 10% (5g/50g). On the other hand, if all of the
10   protein in the product were useful in human nutrition, the %DV would be 50% (25g/50g). The
11   FDA regulations that govern nutrient content claims are also clear that the manufacturer may not
12   make any front label claims about the amount of protein in the product unless it complies with
13   these two requirements. See 21 C.F.R. § 101.13(b) (<A nutrient content claim[] may not be made
14   on the label…unless the claim is made in accordance with this regulation [i.e., § 101.13]…= and
15   (n) (<[n]utrition labeling in accordance with § 101.8…shall be provided for any food for which a
16   nutrient content claim is made=); accord 58 Fed. Reg. 2302, 23310 (manufacturer can only make a
17   =nutrient content claim…on the label or in labeling of a food, provided that the food bears nutrition
18   labeling that complies with the requirements in proposed § 101.9.=).
19         14.      Identical federal and California laws regulate the content of labels on packaged
20   food. The requirements of the FDCA, and its labeling regulations, including those set forth in 21
21   C.F.R. §§ 101, 102, were adopted by the California legislature in the Sherman Food Drug &
22   Cosmetic Law (the <Sherman Law=). California Health & Safety Code § 110100 (<All food
23   labeling regulations and any amendments to those regulations adopted pursuant to the federal act,
24   in effect on January 1, 1993, or adopted on or after that date shall be the food labeling regulations
25   of this state.=) The federal laws and regulations discussed herein are applicable nationwide to all
26   sales of packaged food products. Additionally, none of the California laws sought to be enforced
27   here impose different requirements on the labeling of packaged food for sale in the United States.
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 1         15.      Indeed, when promulgating 21 C.F.R. § 101.9(c)(7), the FDA explained in
 2   published guidance that <Information on protein quantity alone can be misleading on foods that are
 3   of low protein quality.= It also explained that it was prohibiting manufacturers from making any
 4   protein claims at all unless the manufacturer provides a statement of the corrected amount of
 5   protein per serving in the NFP based on PDCAAS because <nutrition labeling must allow
 6   consumers to readily identify foods with particularly low quality protein to prevent them from
 7   being misled by information on only the amount of protein present.= 58 Fed. Reg. 2079 at 2101-2.
 8         16.      In addition to regulating the NFP, the FDA has promulgated a separate set of
 9   regulations that govern nutrient content claims on the front of a package. 21 C.F.R. § 101.13. A
10   nutrient content claim is a claim that <expressly or implicitly characterizes the level of a nutrient.=
11   21 C.F.R. § 101.13(b). <Express= nutrient content claims include any statement outside the
12   Nutrition Facts Panel, about the level of a nutrient. 21 C.F.R. 101.13(b)(1); 21 C.F.R. § 101.13(c).
13   Stating information from the nutrition facts panel (such as grams of protein per serving) elsewhere
14   on the package necessarily constitutes a nutrient content claim. 21 C.F.R. § 101.13(c).
15         17.      A manufacturer cannot make a nutrient content claim in the form of a <statement
16   about the amount or percentage of a nutrient= if the statement is <false or misleading in any
17   respect.= 21 C.F.R. 101.13(i)(3). If it is, then <it may not be made on the label.= 21 C.F.R. §
18   101.13(b). This is true even if the same amount appears in the nutrition facts panel. 21 C.F.R. §
19   101.13(c). The FDA explained in promulgating section 101.13(i) that the regulation was necessary
20   <since many consumers have a limited knowledge and understanding of the amounts of nutrients
21   that are recommended for daily consumption,= which means that <a statement declaring that the
22   product contained a specified amount of a nutrient could be misleading. By its very presence, such
23   a statement could give consumers who were unfamiliar with the dietary recommendations the false
24   impression that the product would assist them in maintaining healthy dietary practices relative to
25   the amount of the nutrient consumed when it, in fact, would not.= 56 Fed. Reg. 60421. The rules
26   are different for amounts in the NFP and nutrient content claims because a voluntary nutrient
27   declaration on the front panel <is viewed by the agency as an effort to market the food as a
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 1   significant source of nutrients.= 56 Fed. Reg. 60366.
 2          18.     While a required statement inside of the NFP escapes regulations reserved for
 3   nutrient content claims (21 C.F.R. § 101.13(c)), the identical statement outside of the NFP is still
 4   considered a nutrient content claim and is therefore subject to 21 C.F.R. § 101.13(i)(3). 21 C.F.R. §
 5   101.13(c). Indeed, the Ninth Circuit has specifically held that <a requirement to state certain facts
 6   in the nutrition label is not a license to make that statement elsewhere on the product.= Reid v.
 7   Johnson & Johnson, 780 F.3d 952, 960 (9th Cir. 2015).
 8          19.     Under the FDCA, the term false has its usual meaning of <untruthful,= while the
 9   term misleading is a term of art that covers labels that are technically true but are likely to deceive
10   consumers. Similarly, both the FDCA and California’s Sherman Law provide that a food is
11   misbranded if <its labeling is false or misleading in any particular.= 21 U.S.C. § 343(a); see also
12   California Health & Safety Code § 110660.
13   Defendant’s Products Violate the FDA and Sherman Law Regulations
14          20.     The primary protein sources in Defendant’s Products are peas, almonds and tapioca
15   starch. The quality protein and the PDCAAS score for peas is approximately 0.8, 0.4 for almonds,
16   and 0.42 for tapioca starch. Although combining peas and rice could theoretically reach a complete
17   amino acid profile, Defendant’s inclusion of other ingredients reduces the pea-to-rice ratio
18   necessary to achieve this amount.3 As such, Defendant’s Products lack the nutritional profile to
19   constitute a 100% PDCAAS score. Nevertheless, Defendant failed to provide in the NFP a
20   statement of the corrected amount of protein per serving calculated according to the PDCAAS
21   methodology.
22          21.     Accordingly, the <12G Plant Protein= claims on the front of the Products’ packages
23   and the 24% DV on their NFP are unlawful in violation of parallel state and federal laws because
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25   3
       Critically, Defendant’s formulation substitutes rice4a methionine-rich complement to pea
26   protein4with almonds and tapioca, which lack complementary amino acids. This deviation
     restricts the bioavailability of the Products. Specifically, lysine (deficient in almonds)
27   and methionine (deficient in peas) remain uncorrected based on the Product’s formulation, capping
     the blend’s PDCAAS at ≤0.85.
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 1   Defendant did not comply with the regulatory requirements for making a protein claim. 21 C.F.R. §
 2   101.9(c)(7)(i) & (iii), 101.13(b), (n). Furthermore, the failure to include a statement of the
 3   corrected amount of protein inside the NFP also rendered the NFP itself unlawful. Id. §
 4   101.9(c)(7)(i). Defendant’s failure to comply with this requirement renders its front label protein
 5   claim unlawful per se and the Products misbranded pursuant to 21 § 101.13(n) and (b), as well as
 6   California Health & Safety Code § 110660, et seq.
 7         22.       Defendant’s standalone, front label protein quantity claims are also misleading, and
 8   therefore prohibited under 21 § 101.13(i)(3), (b), and (n) due to Defendant’s failure to include a
 9   statement of the corrected amount of protein per serving in the NFP calculated using the PDCAAS
10   method and expressed as a %DV. Consumers have a <limited knowledge and understanding of the
11   amount of [protein] that [is] recommended for daily consumption,= let alone an understanding of
12   the science behind protein quality and how different types of proteins are used and absorbed in the
13   body. 56 Fed. Reg. 60421. The FDA requires a statement of the corrected amount of protein per
14   serving in the NFP precisely to ensure that <consumers are not misled by information on only the
15   amount of protein present= in a product with low quality protein. 58 Fed. Reg. 2079 at 2101-2.
16   Defendant’s failure to provide it rendered the label misleading.
17         23.       Defendant’s marketing, advertising, and sale of the Products violates the
18   misbranding provisions of the Sherman Law (California Health & Safety Code § 110660, et. seq.),
19   including but not limited to:
20         a. Sectopm110660 (a food is misbranded if its label is false or misleading in any particular)
21         b. Section 110665 (a food is misbranded if its labeling does not conform with the
22               requirements for nutrition labeling as set forth in 21 U.S.C. Sec. 343(q));
23         c. Section 110705 (a food is misbranded if words, statements and other information
24               required by the Sherman Law to appear on food labeling are either missing or not
25               sufficiently conspicuous);
26         d. Section 110760 (making it unlawful for any person to manufacture, sell, deliver, hold, or
27               offer for sale any food that is misbranded);
28


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 1         e. Section 110765 (making it unlawful for any person to misbrand any food); and
 2         f. Section 110770 (making it unlawful for any person to receive in commerce any food
 3               that is misbranded or to deliver or proffer for delivery any such food).
 4          24.      Defendant’s marketing, advertising, and sale of the Products also violates the false
 5   advertising provisions of the Sherman Law (California Health & Safety Code § 110390, et. seq.),
 6   including, but not limited to:
 7          a. Section 110390 (making it unlawful to disseminate false or misleading food
 8                advertisements that include statements on products and product packaging or labeling or
 9                any other medium used to directly or indirectly induce the purchase of a food product;);
10          b. Section 110395 (making it unlawful to manufacture, sell, deliver, hold or offer to sell
11                any falsely or misleadingly advertised food); and
12          c. Sections 110398 and 110400 (making it unlawful to advertise misbranded food or to
13                deliver or proffer for delivery any food that has been falsely or misleadingly
14                advertised).
15         25.       Defendant has also violated the FDCA, and the standards set by FDA regulations,
16   including but not limited to 21 U.S.C. § 343(a), 21 C.F.R. § 101.9 (c)(7), 21 C.F.R. § 101.13(i)(3),
17   (b), (n), 21 C.F.R. § 101.9(h)(d), and 21 C.F.R. 101.9(e)(3) which have been incorporated by
18   reference in the Sherman Law, by failing to include on the Products packaging the nutritional
19   information required by law
20   Defendant’s Protein Representations are False and Misleading
21         26.       In addition to being unlawful, Defendant’s prominent protein claims on the front of
22   the Products’ packaging while failing to include a statement of the corrected amount of protein per
23   serving expressed as a %DV in the NFP are also likely to mislead consumers. Consumers
24   reasonably expect that Defendant’s Products will provide the full amount of protein per serving
25   claimed on the front of the package. But Defendant’s Products do not do so and instead contain
26   low-quality proteins. Had Defendant included a statement of the corrected amount of protein per
27   serving in the NFP, as they were required to do under the law, it would have revealed that the
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 1   Products contain low-quality proteins that do not account for the nutritional amount of protein on
 2   the Products’ packaging. That information was material to reasonable consumers.
 3          27.     A reasonable consumer would expect that the Products provide what Defendant
 4   identifies them to provide on the product labels and that the labels would not be contrary to the
 5   policies or regulations of the State of California and/or the FDA. For example, a reasonable
 6   consumer would expect that when Defendant labels the Products as containing <12g[rams] Plant
 7   Based Protein,= the Products would provide 12 grams of protein per serving in a form their bodies
 8   could use. Because Defendant did not conduct PDCAAS and provide a statement of the corrected
 9   amount of protein per serving, expressed as a corrected %DV in the NFP, consumers could not
10   have discovered that the Products provide significantly less protein.
11          28.     Consumers lack the meaningful ability to test or independently ascertain the
12   truthfulness of Defendant’s food labeling claims, especially at the point of sale. Reasonable
13   consumers, when looking at the front label of the Products, believe that the Products provide the
14   amount of protein represented therein. Because Defendant do not include legally required
15   information as to the quality of the protein in the NFP via the statement of corrected amount of
16   protein expressed as a %DV, consumers do not have any reason to think otherwise. Reasonable
17   consumers do not walk around with the PDCAAS values for various protein sources in their heads.
18   They would not know the true amount of protein the Products provide nutritionally merely by
19   looking elsewhere on the Products' packaging. That discovery requires investigation well beyond
20   what is advertised and knowledge of food chemistry beyond that of the average consumer. An
21   average consumer does not have the specialized knowledge necessary to ascertain that the Products
22   do not provide the number of grams of protein that is represented on their packaging. An average
23   consumer also lacks the specialized knowledge necessary to determine the PDCAAS for the
24   Products. The average reasonable consumer had no reason to suspect that Defendant’s
25   representations on the packages were misleading. Therefore, consumers had no reason to
26   investigate whether the Products actually do provide the amount of protein per serving that the
27   labels claim they do and reasonably relied on Defendant’s representations regarding the nature of
28


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 1   the Products.
 2          29.      Defendant intends and knows that consumers will and do rely upon food labeling
 3   statements in making their purchasing decisions. Label claims and other forms of advertising and
 4   marketing drive product sales, particularly if placed prominently on the front of product packaging,
 5   as Defendant has done with the claims on the Products that they contain and provide specific
 6   amounts of protein per serving.
 7          30.      In making unlawful, false, misleading, and deceptive representations, Defendant
 8   distinguishes the Products from its competitors’ products. Defendant knew and intended that
 9   consumers would purchase and pay a premium for products labeled with protein claims. By using
10   this branding and marketing strategy, Defendant is stating that the Products are superior to, better
11   than, and more nutritious and healthful than other products that do not make protein claims, or that
12   properly provide the required statement of the corrected amount of protein as determined by the
13   PDCAAS method and expressed as a %DV.
14          31.      Because consumers pay a price premium for products that make protein claims, and
15   also pay a premium for products that provide more protein, by labeling its Products with protein
16   claims and misrepresenting the required statement of the corrected amount of protein per serving,
17   Defendant is able to both increase its sales and retain more profits.
18          32.      Defendant engaged in the practices complained of herein to further its private
19   interests of: (i) increasing sales of the Products while decreasing the sales of competitors that do
20   not mislead consumers about the quality of the protein in its products, and/or (ii) commanding a
21   higher price for its Products because consumers will pay more for the Products due to consumers’
22   demand for products with protein claims.
23          33.      The market for protein products is continuing to grow and expand, and because
24   Defendant knew consumers rely on representations about the number of grams of protein in food
25   products, Defendant has an incentive to continue to make such unlawful and misleading
26   representations. In addition, other trends suggest that Defendant has no incentive to change their
27   labeling practices.
28


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 1           34.    For example, one market analysis revealed that between 2013-2017, product
 2   launches with a protein claim grew 31%.4
 3           35.    To capitalize on the growing market, the Defendant continues to launch new
 4   product lines and flavors to diversify its portfolio and maintain a competitive edge. It is therefore
 5   likely that Defendant will continue to unlawfully and/or misleadingly advertise the Products and
 6   perpetuate the misrepresentations regarding the protein in the Products.
 7                                    CLASS ACTION ALLEGATIONS
 8          36.     Plaintiff brings this action on behalf of herself and all other similarly situated
 9   persons pursuant to Federal Rules of Civil Procedure 23(a), (b)(1) and (b)(3).
10           37.    Plaintiff seeks to represent all persons in the United States who purchased
11   Defendant’s Products (the <Class=).
12           38.    The Class does not include (1) Defendant, its officers, and/or its directors; or (2) the
13   Judge to whom this case is assigned and the Judge’s staff.
14           39.    Plaintiff reserves the right to amend the above class definition and add additional
15   classes or subclasses as appropriate based on investigation, discovery, and the specific theories of
16   liability.
17           40.    Community of Interest: There is a well-defined community of interest among
18   members of the Class, and the disposition of the claims of these members of the Class in a single
19   action will provide substantial benefits to all parties and to the Court.
20           41.    Numerosity: While the exact number of members of the Class is unknown to
21   Plaintiff at this time and can only be determined by appropriate discovery, upon information and
22   belief, members of the Class number in the millions. The precise number of the members of the
23   Class and their identities are unknown to Plaintiff at this time but may be determined through
24   discovery. Members of the Class may be notified of the pendency of this action by mail and/or
25   publication through the distribution records of Defendant and third-party retailers and vendors.
26   4
      https://www.bakeryandsnacks.com/Article/2018/11/26/10-key-snack-trends-to-
27   watch/?utm_source=copyright&utm_medium=OnSite&utm_campaign=copyright (last accessed
     May 23, 2025).
28


     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                            12
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 1          42.        Existence and predominance of common questions of law and fact: Common
 2   questions of law and fact exist as to all members of the Class and predominate over any questions
 3   affecting only individuals of the Class. These common legal and factual questions include, but are
 4   not limited to:
 5          (a)        Whether Defendant’s protein representation and omissions about the Products are
 6                     false and misleading in violation of California’s False Advertising Law (<FAL=),
 7                     Cal. Bus. & Prof. Code §§ 17500, et seq., California’s Consumers Legal Remedies
 8                     Act (<CLRA=), Cal. Civ. Code §§ 1750, et seq., and/or California’s Unfair
 9                     Competition Law (<UCL=), Cal. Bus. & Prof. Code §§ 17200, et seq.;
10          (b)        Whether Plaintiff and the members of the Class have suffered damages as a result of
11                     Defendant’s actions and the amount thereof; and
12          (c)        Whether Plaintiff and the members of the Class are entitled to attorney’s fees and
13                     costs.
14          43.        Typicality: The claims of the named Plaintiff are typical of the claims of other
15   members of the Class in that the named Plaintiff was exposed to Defendant’s false and misleading
16   marketing, purchased Defendant’s Product, and suffered a loss as a result of those purchases.
17          44.        Adequacy: Plaintiff will fairly and adequately represent and protect the interests of
18   the Class as required by Federal Rule of Civil Procedure Rule 23(a)(4). Plaintiff is an adequate
19   representative of the Class because she has no interests that are adverse to the interests of the
20   members of the Class. Plaintiff is committed to the vigorous prosecution of this action and, to that
21   end, Plaintiff has retained skilled and experienced counsel.
22          45.        Superiority: A class action is superior to all other available methods of the fair and
23   efficient adjudication of the claims asserted in this action under Federal Rule of Civil Procedure
24   23(b)(3) because:
25          (a)        The expense and burden of individual litigation makes it economically unfeasible
26                     for members of the Class to seek to redress their claims other than through the
27                     procedure of a class action;
28


     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                           13
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 1          (b)      If separate actions were brought by individual members of the Class, the resulting
 2                   duplicity of lawsuits would cause members of the Class to seek to redress their
 3                   claims other than through the procedure of a class action; and
 4          (c)      Absent a class action, Defendant likely will retain the benefits of its wrongdoing,
 5                   and there would be a failure of justice.
 6                                          CAUSES OF ACTION
 7
                                                  COUNT I
 8                            Violation of California’s False Advertising Law,
                                  Cal. Bus. & Prof. Code § 17500, et seq.
 9                                 (On Behalf of Plaintiff and the Class)
10          46.      Plaintiff incorporates by reference each of the allegations contained in the foregoing
11   paragraphs of this Complaint as though fully set forth herein.
12          47.      The FAL makes it <unlawful for any person…to make or disseminate or cause to be
13   made or disseminated before the public in this state, … [in] any advertising device … or in any
14   other manner or means whatever, including over the Internet, any statement, concerning …
15   personal property or those services, professional or otherwise, or … performance or disposition
16   thereof, which is untrue or misleading and which is known, or which by the exercise of reasonable
17   care should be known, to be untrue or misleading.= Cal. Bus. & Prof. Code § 17500.
18          48.      Defendant committed acts of false and misleading advertising, as defined by the
19   FAL, by using statements to promote the sale of its Products by representing (by omission and
20   commission) that the Products contained more grams of protein per serving than they actually
21   provided, and that the Products were appropriate for meeting protein dietary needs. Defendant had
22   a duty to disclose the corrected amount of protein per serving in the NFP, as calculated according
23   to the PDCAAS method, which Defendant failed to do.
24          49.      Defendant knew or should have known that its advertising claims are misleading
25   and/or false.
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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                          14
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 1           50.    Defendant knew or should have known, through the exercise of reasonable care, that
 2   its representations were false and misleading and likely to deceive consumers and cause them to
 3   purchase Defendant’s Products.
 4           51.    Defendant’s wrongful conduct is ongoing and part of a general practice that is still
 5   being perpetuated and repeated throughout the State of California and nationwide.
 6           52.    Plaintiff and the Class Members seek restitution, attorneys’ fees, and all other relief
 7   that the Court deems proper.
 8           53.    Plaintiff lacks an adequate remedy at law to address the unfair conduct at issue here.
 9   Legal remedies available to Plaintiff and Class Members are inadequate because they are not
10   equally prompt and certain and in other ways efficient as equitable relief. Damages are not equally
11   certain as restitution because the standard that governs restitution is different than the standard that
12   governs damages. Hence, the Court may award restitution even if it determines that Plaintiff fails
13   to sufficiently adduce evidence to support an award of damages. Damages and restitution are not
14   the same amount. Unlike damages, restitution is not limited to the amount of money Defendant
15   wrongfully acquired plus the legal rate of interest. Equitable relief, including restitution, entitles
16   Plaintiff to recover all profits from the wrongdoing, even where the original funds taken have
17   grown far greater than the legal rate of interest would recognize. Legal claims for damages are not
18   equally certain as restitution because claims under the FAL entail fewer elements. In short,
19   significant differences in proof and certainty establish that any potential legal claim cannot serve as
20   an adequate remedy at law.
21           54.    Equitable relief is also appropriate because Plaintiff may lack an adequate remedy at
22   law if, for instance, damages resulting from her purchase of the Product are determined to be an
23   amount less than the premium price of the Product. Without compensation for the full premium
24   price of the Product, Plaintiff would be left without the parity in purchasing power to which she is
25   entitled.
26

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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                             15
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 1
                                                COUNT II
 2
                   Violation of California’s Consumers Legal Remedies Act (<CLRA=),
 3                                  California Civil Code § 1750, et seq.
                                   (On Behalf of Plaintiff and the Class)
 4
            55.     Plaintiff incorporates by reference each of the allegations contained in the foregoing
 5
     paragraphs of this Complaint as though fully set forth herein.
 6
            56.     Civil Code § 1770(a)(5) prohibits <[r]epresenting that goods or services have
 7
     sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not
 8
     have or that a person has a sponsorship, approval, status, affiliation, or connection which he or she
 9
     does not have.=
10
            57.     Civil § 1770(a)(7) prohibits <[r]epresenting that goods or services are of a particular
11
     standard, quality, or grade, or that goods are of a particular style or model, if they are of another.=
12
            58.     Civil § 1770(a)(9) prohibits <advertising goods or services with intent not to sell
13
     them as advertised.=
14
            59.     Defendant profited from the sale of the falsely, deceptively, and unlawfully
15
     advertised Products to unwary consumers.
16
            60.     Defendant’s wrongful business practices constituted, and still constitute, a
17
     continuing course of conduct in violation of the CLRA.
18
            61.     On April 3, 2025, Plaintiff notified Defendant in writing, by certified mail, of the
19
     violations alleged herein and demanded that Defendant remedy those violations pursuant to Cal.
20
     Civ. Code § 1782. Defendant failed to correct its business practices or provide the requested relief
21
     within 30 days.
22
            62.     Pursuant to California Civil Code §§1780(a)(1)-(5) and § 1780(e), Plaintiff and the
23
     Class Members seek monetary damages from Defendant, reasonable attorneys’ fees and litigation
24
     costs, and any other relief the Court deems proper under the CLRA.
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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                           16
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                                                COUNT III
 1
                       Violation of California’s Unfair Competition Law, (<UCL=),
 2                               Cal. Bus. & Prof. Code §§ 17200, et seq.
                                   (On Behalf of Plaintiff and the Class)
 3
            63.     Plaintiff incorporates by reference each of the allegations contained in the foregoing
 4
     paragraphs of this Complaint as though fully set forth herein.
 5
            64.     The UCL prohibits unfair competition in the form of <any unlawful, unfair, or
 6
     fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any
 7
     act.= Cal. Bus. & Prof. Code § 17200. A business act or practice is <unlawful= if it violates any
 8
     established state or federal law. A practice is unfair if it (1) offends public policy; (2) is immoral,
 9
     unethical, oppressive, or unscrupulous; or (3) causes substantial injury to consumers. The UCL
10
     allows <a person who has suffered injury in fact and has lost money or property= to prosecute a
11
     civil action for violation of the UCL. Cal. Bus. & Prof. Code § 17204. Such a person may bring
12
     such an action on behalf of himself or herself and others similarly situated who are affected by the
13
     unlawful and/or unfair business practice or act.
14
            65.     Defendant’s acts, as described above, constitute unlawful, unfair, and fraudulent
15
     business practices pursuant to California Business & Professions Code §§ 17200, et seq.
16
            66.     Defendant has violated the UCL’s proscription against engaging in Unlawful
17
     Business Practices as a result of its violations of the FAL, Cal. Bus. & Prof. Code § 17500, et seq.;
18
     CLRA, Cal. Civ. Code § 1770, et seq.; and the Sherman Law, including without limitation,
19
     California Health & Safety Code §§ 110390, 110395, 110398 and 110400; the misbranded food
20
     provisions of the Sherman Law (Article 6), including without limitation, California Health &
21
     Safety Code §§ 110660, 110665, 110705, 110760, 110765, and 110770; and and federal laws
22
     regulating the advertising and branding of food in 21 U.S.C. § 343(a), et seq. and FDA regulations,
23
     including but not limited to 21 C.F.R. § 101.9 (c)(7), 21 C.F.R. § 101.13(i)(3), (b), (n), 21 C.F.R. §
24
     101.9(h)(d), and 21 C.F.R. 101.9(e)(3), which are incorporated into the Sherman Law (California
25
     Health & Safety Code §§ 110100(a), 110380, and 110505).
26
            67.     In particular, Defendant has engaged, and continues to engage, in unfair and
27
     fraudulent practices by, without limitation, the following: (i) unlawfully making a protein claim on
28


     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                              17
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 1   the front labels of the Products packages without complying with the regulatory
 2   requirements for making protein claims set forth in 21 C.F.R. § 101.9(c)(7)(i)-(iii) and
 3   incorporated by reference by California’s Sherman law; (ii) failing to provide a statement of
 4   the corrected amount of protein per serving in the NFP, calculated according to the
 5   PDCAAS method and expressed as a %DV, as required by FDA regulations; and (iii)
 6   misleading reasonable consumers regarding the amount of protein the Products provide
 7   nutritionally in a form that humans can use.
 8           68.    Defendant has also violated the UCL’s proscription against engaging in
 9    Unfair Business Practices. Defendant’s acts, omissions, misrepresentations, practices and
10    non-disclosures as alleged herein also constitute <unfair= business acts and practices
11    within the meaning of Business & Professions Code § 17200, et seq. in that its conduct is
12    substantially injurious to consumers, offends public policy, and is immoral, unethical,
13    oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits
14    attributable to such conduct. Defendant’s deceptive business model has led consumers to
15    purchase the Products over other comparable dietary supplements that properly represent
16    their nutritional value. Such injury is not outweighed by any countervailing benefits to
17    consumers or competition. Indeed, no benefit to consumers or competition results from
18    Defendant’s conduct. Since consumers reasonably rely on the Products’ labels, and thus
19    also their omissions, consumers could not have reasonably avoided such injury. Davis v.
20    Ford Motor Credit Co., 179 Cal. App. 4th 581, 597-98 (2009); see also Drum v. San
21    Fernando Valley Bar Ass’n, 182 Cal. App. 4th 247, 257 (2010) (outlining the third test
22    based on the definition of <unfair= in Section 5 of the FTC Act). Furthermore, Defendant’s
23    packaging and sale of the Products is also unfair because it violates public policy as
24    declared by specific constitutional, statutory, or regulatory provisions, including, but not
25    limited to, the FDA and the Sherman Law.
26          69.     Finally, Defendant has further violated the UCL’s proscription against
27   engaging in Fraudulent Business Practices. Defendant’s claims, omissions, and misleading
28


     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                    18
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 1   statements, as more fully set forth above, were false, misleading and/or likely to deceive the
 2   consuming public.
 3           70.    Pursuant to California Business and Professional Code § 17203, Plaintiff and the
 4   Class Members seek restitution, attorneys’ fees, and all other relief that the Court deems proper.
 5           71.    Plaintiff lacks an adequate remedy at law to address the unfair conduct at issue here.
 6   Legal remedies available to Plaintiff and Class Members are inadequate because they are not
 7   equally prompt, certain, and in other ways efficient as equitable relief. Damages are not equally
 8   certain as restitution because the standard that governs restitution is different than the standard that
 9   governs damages. Hence, the Court may award restitution even if it determines that Plaintiff fails
10   to sufficiently adduce evidence to support an award of damages. Damages and restitution are not
11   the same amount. Unlike damages, restitution is not limited to the amount of money Defendant
12   wrongfully acquired plus the legal rate of interest. Equitable relief, including restitution, entitles
13   Plaintiff to recover all profits from the wrongdoing, even where the original funds taken have
14   grown far greater than the legal rate of interest would recognize. Legal claims for damages are not
15   equally certain as restitution because claims under the UCL entail fewer elements. In short,
16   significant differences in proof and certainty establish that any potential legal claim cannot serve as
17   an adequate remedy at law.
18           72.    Equitable relief is also appropriate because Plaintiff may lack an adequate remedy at
19   law if, for instance, damages resulting from her purchase of the Products are determined to be an
20   amount less than the premium price of the Products. Without compensation for the full premium
21   price of the Product, Plaintiff would be left without the parity in purchasing power to which she is
22   entitled.
                                                 COUNT IV
23
                                             Unjust Enrichment
24                                   (On behalf of Plaintiff and the Class)

25           73.    Plaintiff incorporates by reference each of the allegations contained in the foregoing

26   paragraphs of this Complaint as though fully set forth herein.

27           74.    Plaintiff and the Class Members conferred benefits on Defendant by purchasing the

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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                             19
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 1   Products.
 2          75.     Defendant was unjustly enriched in retaining the revenues derived from Plaintiff
 3   and the Class Members’ purchases of the Products. Retention of those monies under these
 4   circumstances is unjust and inequitable because Defendant misrepresented the benefits of the
 5   Products. These omissions and misrepresentations caused injuries to Plaintiff and the Class
 6   Members because they would not have purchased the Products if the true facts were known.
 7          76.     Because Defendant’s retention of the non-gratuitous benefits conferred on them by
 8   Plaintiff and the Class Members is unjust and inequitable, Defendant has been unjustly enriched in
 9   an amount to be determined at trial.
10          77.     Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following
11   allegations in this paragraph as an alternative to any contrary allegations in her other causes of
12   action, in the event that such causes of action will not succeed. Plaintiff and the Class Members
13   may be unable to obtain monetary, declaratory and/or injunctive relief directly under other causes
14   of action and will lack an adequate remedy at law, if the Court requires them to show classwide
15   reliance and materiality beyond the element required under unjust enrichment. In addition,
16   Plaintiffs and the Class Members may be unable to obtain such relief under other causes of action
17   and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the requisite mens rea
18   (intent, reckless, and/or negligence), because an action under unjust enrichment imposes no such
19   mens rea requirement and liability exists even if Defendant acted in good faith. Restitution may
20   also be more certain, prompt, and efficient than other legal remedies requested herein. The return
21   of the full premium price will ensure that Plaintiff and the Class are in the same place they would
22   have been in had Defendant’s wrongful conduct not occurred, i.e., the position to make an
23   informed decision about the purchase of the Products absent omissions and misrepresentations with
24   the full purchase price at their disposal. As a direct and proximate result of Defendant’s unjust
25   enrichment, Plaintiff and the Class Members suffered injury and seek the disgorgement and
26   restitution of Defendant’s wrongful profits, revenue, and benefits, plus interest, to the extent and in
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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                          20
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 1   the amount deemed appropriate by the Court, and such other relief as the Court deems just and
 2   proper to remedy Defendant’s unjust enrichment.
                                               COUNT V
 3
                                     Breach of Express Warranty
 4                               (On Behalf of Plaintiff and the Class)

 5          78.     Plaintiff incorporates by reference each of the allegations contained in the foregoing

 6   paragraphs of this Complaint as though fully set forth herein.

 7          79.     Plaintiff brings this claim under the laws of the State of California.

 8          80.     As the manufacturer, marketer, advertiser, and promoter of the Products, Defendant

 9   issued an express warranty by representing that the Products have a certain amount of protein that

10   they do not have.

11          81.     Defendant’s representations were part of the basis of the bargains upon which the

12   goods were offered for sale and purchased by Plaintiff and the Class Members.

13          82.     As a direct and proximate result of Defendant’s breach, Plaintiff and the Class

14   Members were injured because they: (1) paid money for the Products that were not what Defendant

15   represented; (2) were deprived of the benefit of the bargain because the Products they purchased

16   were different than Defendant had advertised; and (3) were deprived of the benefit of the bargain

17   because the Products they purchased had less value than Defendant represented. Had Defendant not

18   breached its express warranty by making the false representations alleged herein, Plaintiff and the

19   Class Members would not have purchased the Products or would not have paid as much as they did

20   for them.

21          83.     As a result, Plaintiff and the Class Members suffered and continue to suffer damage

22   and injury, and are entitled to all damages, in addition to costs, interest and fees, including

23   attorneys’ fees, as allowed by law.

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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                        21
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 1                                           PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
 3   judgment against Defendant, as follows:
 4           (a) For an order certifying the Class under Rule 23 of the Federal Rules of Civil Procedure;
 5               naming Plaintiff as a representative of the Class; and naming Plaintiff’s attorneys as
 6               Class Counsel to represent the Class;
 7           (b) For an order finding in favor of Plaintiff and the Class on all counts asserted herein;
 8           (c) For actual, compensatory, statutory, and/or punitive damages in amounts to be
 9               determined by the Court and/or jury;
10           (d) For an order of restitution and all other forms of equitable monetary relief;
11           (e) For prejudgment interest on all amounts awarded; and
12           (f) For an order awarding Plaintiff and the Class their reasonable attorneys’ fees, expenses,
13              and costs of suit.
14                                     DEMAND FOR TRIAL BY JURY
15
             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any
16
     and all issues in this action so triable as of right.
17

18   Dated: May 28, 2025                              Respectfully submitted,
19
                                                      GUCOVSCHI ROZENSHTEYN, PLLC.
20
                                                      By:    /s/ Adrian Gucovschi
21                                                    Adrian Gucovschi (State Bar No. 360988)
                                                      Nathaniel Haim Sari (pro hac vice forthcoming)
22
                                                      140 Broadway, Fl. 46
23                                                    New York, NY 10005
                                                      Telephone: (212) 884-4230
24                                                    Facsimile: (212) 884-4230
                                                      E-Mail: adrian@gr-firm.com
25
                                                      Attorneys for Plaintiff
26

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             CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 1

 2           I, Adrian Gucovschi, declare as follows:
             1.      I am an attorney at law licensed to practice in the State of California and a member
 3
     of the bar of this Court. I am a partner at Gucovschi Rozenshteyn PLLC, counsel of record for
 4
     Plaintiff Jane Jue in this action. I have personal knowledge of the facts set forth in this declaration
 5
     and, if called as a witness, I could and would competently testify thereto under oath.
 6
             2.      The Complaint filed in this action is filed in the proper place for trial under Civil
 7
     Code Section 1780(d) in that a substantial portion of the transaction alleged in the Complaint
 8
     occurred in Alameda County. Plaintiff Jane Jue alleges she purchased the Products in this County.
 9
             I declare under the penalty of perjury under the laws of the State of California and the
10
     United States that the foregoing is true and correct, and that this declaration was executed at Miami,
11
     Florida, this 28th day of May, 2025.
12

13
                                                      /s/ Adrian Gucovschi
14                                                       Adrian Gucovschi

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     CLASS ACTION COMPLAINT 3 JURY TRIAL DEMANDED                                                              23
